2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 1 of 136

Request for Quote #5

BPA #: 68HE0323A0006
Call Order #: 5
Date: February 18, 2025

Call Order Title: Animal Agriculture Program Assessment Updates SOW: EPA Region 3
Water Division (WD)

This is a request for quote (RFQ) for a project plan and cost/price quote for activities outlined in
the Statement of Work (SOW) for the above referenced blanket purchase agreement. The project
plan and cost/price quote shall be submitted within fourteen days (14) of receipt of this RFQ.
The contractor’s response shall include, as appropriate the technical approach, personnel
assigned, period of performance and deliverables based upon the activities outlined below in
accordance with the call order procedures.

The following activities are requested in support of Task 1 as described in the SOW.

The Contractor shall provide a quote for the activities described below. Should the EPA accept
the quote, a call order shall be issued, and the Contractor shall work with the Region 3 contacts
to schedule and perform the activities. The selected Contractor shall take all direction under this
call order from the EPA. EPA expects that activities shall be completed within 24 months of
award with a start date of March 2025.

Level of Effort: This is a Firm Fixed Price Call Order.

Reference Materials the Contractor shall utilize include:

e Final West Virginia Animal Agricultural Program Assessment - available at:
https://www.epa.gov/sites/default/files/2015-
09/documents/westvirginiaanimalaericultureprogramassessment.pdf

e Final New York Animal Agricultural Program Assessment - available at:
https://www.epa.gov/sites/default/files/2015-
07/documents/new york animal agriculture program assessment final 2.pdf

e West Virginia’s Final Phase IIT Watershed Implementation Plan - available at:
https:/Awww.wvca.us/bay/files/bay documents/1298 WV WIP3 final 082319.pdf

e New York’s Final Phase III Watershed Implementation Plan - available at:
https:/Awww.dec.ny.gov/lands/112126.html

e West Virginia’s 2020-2021 and 2022-2023 Two Year Programmatic Milestones -
available at: http:/AWwww.wvchesapeakebay.us/progress/

e New York’s 2020-2021 and 2022-2023 Two Year Programmatic Milestones — available
at: https:/Avww.dec.ny.gov/lands/33279. html

EPA_00042057
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 2 of 136

e West Virginia’s animal agriculture program — available at: https://agriculture.wv.gov/
e New York’s animal agriculture program — available at: https://agriculture.ny.gov/animals

Task 1: Animal Agriculture Program Assessment Updates

The contractor shall provide support to EPA to update the 2015 West Virginia and New York
Animal Agriculture programs assessments in the Chesapeake Bay watershed. The assessments
address whether the state programs are consistent with Clean Water Act requirements and are
implemented effectively to achieve the state’s animal agriculture Watershed Implementation
Plan (WIP) commitments to reduce nitrogen, phosphorus, and sediment under the Chesapeake
Bay Total Maximum Daily Load (TMDL). Programs assessed are regulatory and voluntary
programs pertaining to concentrated animal feeding operations (CAFOs) and animal feeding
operations (AFOs) and their associated cropland.

The goal of this effort is to: 1) document any changes to the State programs since the previous
assessments were completed and evaluate and determine the status of the recommendations, 2)
evaluate whether the state programs are consistent with federal regulations and with the states’
animal agriculture WIP commitments under the Chesapeake Bay TMDL, 3) determine whether
the programs are being effectively implemented, 4) make any program recommendations that
would maximize nutrient and sediment reductions to meet Load Allocation and Waste Load
allocations of the Chesapeake Bay TMDL and any local water quality efforts that shall have
benefits to nutrient reductions. Activities shall include collecting information on the state animal
agriculture programs and WIP commitments and determining the extent to which animal
agriculture operations are subject to and complying with nutrient management planning
requirements, National Pollutant Discharge Elimination System (NPDES) permitting
requirements, or other state requirements. The contractor shall help EPA collect information
sufficient to support analysis of the strengths and weaknesses of state CAFO programs and other
animal agriculture programs in the Chesapeake Bay watershed.

SPECIFIC TASK ACTIVITIES/DELIVERABLE DEADLINES:

e State Assessments: Conduct a review and evaluation of the state animal agriculture
regulatory and voluntary programs in the Chesapeake Bay watershed portion of the two
(2) states identified above, including programs that address CAFOs and AFOs and their
associated cropland, to identify whether such programs are consistent with Clean Water
Act requirements and are implemented effectively to achieve the state’s animal-
agriculture WIP commitments.

EPA_00042058
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 3 of 136

o State-Specific Questionnaire: Contractor shall work with R3 to revise and
update state-specific questionnaires relating to animal agriculture programs and
WIP commitments.

© Follow-up Interviews: Contractor shall work with R3 to prepare for and conduct
follow-up interviews with the States, as needed and directed by EPA.

o File Reviews: Contractor shall conduct file reviews as directed by R3, where
appropriate and as necessary.

o Web Searches: Contractor shall conduct web searches on state program
implementation and review annual or updated progress available and presented
since 2015.

o Public Access Review: Contractor shall conduct reviews of public availability of
permit and program information to evaluate regional consistency and access to
information highlighting best practices.

o Written Products: Contractor shall provide draft and final versions of completed
state assessments to R3 and R2, as appropriate. Draft reports for WV and NY
shall be submitted to EPA within 180 days following the start of each review
unless otherwise directed by EPA. It is expected that the reports shall roughly
follow the template of the Pennsylvania, Virginia, and Maryland reports and any
changes shall not be made to the report structure unless directed by EPA. EPA
shall provide comments and edits on the documents to the contractor or may make
changes directly depending on the type and extent of comments.

Contractors shall work with R3 project lead to begin drafting state-specific questionnaires for
WV and NY. Region 3 shall coordinate with Region 2 for NY activities. Information on the
state program assessments can be found at: https://www.epa.gov/chesapeake-bay-tmd|/epas-
assessments-animal-aericulture-programs-chesapeake-bay-watershed

Communication

Anticipate a minimum of five (5) and a maximum of twenty (20) project planning conference
calls or virtual meetings with contractors and EPA to discuss this project. The contractor shall
develop notes from those conference calls/meetings to document the discussion, actions items
and decisions points. EPA POCs are also available on an as needed basis for clarification and
informal discussions.

Deliverables

1. Questionnaire
2. Summary notes from follow-up interviews, file reviews, reviews of public availability of
permit and program information, and web searches

EPA_00042059
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 4 of 136

3. Draft and final versions of updated assessments

The Project Officer/Contracting Officer’s Representative for this Call Order is Lydia Bailey
(215-814-5437), bailey.lydia@epa.gov. The Region 3 contacts for this activity include Leah
Martino (215-814-3262) martino.leah@epa.gov; Rebecca Crane (215-814-2389)
crane.rebecca@epa.gov; Carissa Moncavage (215-814-5798) moncavage.carissa@epa.gov;
Jessica Martinsen (215-814-5144) martinsen.jessica@epa.gov; and Jennifer Fulton (304-234-
0248) fulton.jennifer@epa.gov.

RFQ Submittal:
Project Plan

The contractor’s response shall include, as appropriate the technical approach, personnel
assigned, and deliverables based upon the activities outlined in accordance with the call order
procedures. The contractor shall describe their staffing plan for this requirement, including all
proposed labor categories. Offerors are cautioned that, if awarded a call order, their staffing plan
shall be used to set the minimum standard for acceptable staffing under this order. Any
replacement personnel provided after award shall be at least as qualified as the individuals
included within the offeror’s staffing plan.

The contractor’s response shall state compliance or exception to call order requirements, risks,
assumptions, and conflict of interest issues. Plans shall not merely restate the statement of work
requirements.

Price/Cost Quote

The price/cost quote shall include detailed cost/price amounts for all resources required to
accomplish work under the call order (e.g., labor hours, other direct costs, or travel) for each call,
and an overall total price. At a minimum, the following data shall be provided:

(a) Appropriate labor categories and associated number of hours, identification of clerical
labor, other direct costs elements, and any GFP, GPE, or GFI required,

(b) Any other relevant information requested.
(c) Any assumptions.

Offerors are requested to submit the quote separately from their staffing plan.

EPA_00042060
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 5 of 136

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding actions for $50,000 and above, review and signature by a DOGE team member is
required.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #: F-00336525

Recipient/ Vendor name:) PENNSYLVANIA DEPARTMENT OF ENVIRONMENTAL PROTECTION (PADEP)

Funding amount $:| 1,000,000 (incremental)

Work Description:

The agreement assists the Commonwealth of Pennsylvania to develop and implement a
Public Water System Supervision (PWSS) program to adequately enforce the National
Primary Drinking Water Regulations and the requirements of the Safe Drinking Water Act.
This amendment provides incremental federal funds of $1,000,000. Federal funds of
$4,848,000 are contingent upon availability.

System Link: |https://igms.epa.gov/nggs-pa/change_request_details.do?id=114337

EPA_00042061
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 6 of 136

Government-wide Acquisition (if yes, check box):

Workplan/PWS Attachment (follow these instructions):
e Must use Adobe Pro
e Select "All Tools”
e Select "Edit a PDF"
e Under "Add Content," select "Show More," choose "Attach a file."

. Digitally signed by Price-
Price-Fay, Fay, Michelle

. Date: 2025.03.18
Michelle 09:16:07 -04'00'

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team (if required)

EPA_00042062
2:25-Ccv-02152-RMG Date Filed 04/21/25. =Entry Number 109-5

Page 7 of 136
Change Request

Document Title: PADEP PWSS FY24 and 25
Grant # F-00336525-1 Page 1

Change Information

PADEP PWSS FY24 and 25

Grant Number:

EPA R3 00336525-1

* Incremental Amendment Amendment

The agreement assists the Commonwealth of Pennsylvania to develop and implement a Public Water System
Supervision (PWSS) program to adequately enforce the National Primary Drinking Water Regulations and the
requirements of the Safe Drinking Water Act. This amendment provides incremental federal funds of $1,000,000.
Federal funds of $4,848,000 are contingent upon availability.

Request Date: 02/28/2025

Dennis Oconnor

Proposed Budget

EPA Amount This Action: $ 3,200,000.00 $ 1,000,000.00 $ 4,200,000.00
EPA In-Kind Amount: $ 60,000.00 $ 0.00 $ 60,000.00
Unexpended Prior Yr. Bal: $ 0.00 $ 0.00 $ 0.00
Other Federal Funds: $ 0.00 $ 0.00 $ 0.00
Recipient Contribution: $ 0.00 $ 0.00 $ 0.00
State Contribution: $ 3,036,000.00 $ 0.00 $ 3,036,000.00
Local Contribution: $ 0.00 $ 0.00 $ 0.00
Other Contribution: $ 0.00 $ 0.00 $ 0.00
Allowable Project Cost: $ 6,296,000.00 $ 1,000,000.00 $ 7,296,000.00

Categorical Budget Table

Table A - Object Class Total Approved Previous Award Budget This Award Budget Amended Budget
Category Allowable Budget Period
Cost
1. Personnel $ 5,040,369.00 $ 5,040,369.00 $ 0.00 $ 5,040,369.00
2. Fringe Benefits $ 3,549,375.00 $ 3,549,375.00 $ 0.00 $ 3,549,375.00
3. Travel $ 266,136.00 $ 266,136.00 $ 0.00 $ 266,136.00
4. Equipment $ 0.00 $ 0.00 $ 0.00 $ 0.00
5. Supplies $ 41,185.00 $ 41,185.00 $ 0.00 $ 41,185.00
6. Contractual $ 130,000.00 $ 130,000.00 $ 0.00 $ 130,000.00
7. Construction $ 0.00 $ 0.00 $ 0.00 $ 0.00
NGGS PDF Generated 03/10/2025 2:49:12 PM Page 1

EPA_00042063
2:25-CV-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 8 of 136
Grant # F-00336525-1 Page 2

Categorical Budget Table

Table A - Object Class Total Approved Previous Award Budget This Award Budget Amended Budget
Category Allowable Budget Period
Cost
8. Other $ 713,525.00 $ 713,525.00 $ 0.00 $ 713,525.00
9. Total Direct Charges $ 9,740,590.00 $ 9,740,590.00 $ 0.00 $ 9,740,590.00
1 0,
a nalrect Costs _% $ 2,403,410.00 $ 2,403,410.00 $ 0.00 $ 2,403,410.00

11. Total (Share: Recipient
25.00 % Federal 75.00 %.) $ 12,144,000.00 $ 12,144,000.00 $ 0.00 $ 12,144,000.00

12. Total Approved
Assistance Amount

13. Program Income $ 0.00 $ 0.00 $ 0.00 $ 0.00

$ 0.00 $ 0.00 $ 0.00 $ 0.00

Environmental Results

Select the appropriate competitive status for this agreement. Non-competitive funding package

Please list the Program Results Code(s) (PRCs) that will be used to fund this project. If more than one PRC is used, list the amount
allocated to each in the space provided.

PRC Program/Project Allocation

03 - CATEGORICAL GRANTS
$ 1,000,000.00 PWSs

$ 1,000,000.00

This project supports the following Goals, Objectives, and Sub-Objectives.

Objective

5.1 - Ensure Safe Drinking Water and Reliable Water Infrastructure

5 - Ensure Clean and Safe Water for All Communities

Describe how the Program/Project fits within the Agency's Strategic Plan/GPRA architecture.

This project supports Goal 5: Ensure Clean and Safe Water for All Communities and Objective 5.1: Ensure Safe Drinking Water and
Reliable Water Infrastructure. Specifically, the recipient will work to improve and maintain the quality of drinking water supplies by
maintaining an inventory of drinking water systems, managing information on public water systems, ensuring that public participation occurs
regarding drinking water systems, providing technical assistance to public water systems and enforcing drinking water regulations. The
PRC Code assigned to fund this project is consistent with the Agency's Strategic Plan/Government Performance and Results Act
architecture.

Attachments

No files have been attached.

The PRCs assigned to the funding for this assistance agreement are consistent with these

strategic goals/objectives/sub-objectives. [he Water Division (S3DW00), in R3 - Region 3 has

reviewed the work plan for this agreement and determined that it contains well-defined outputs, Yes
and to the maximum extent practical, well-defined outcomes.

Is this project progressing satisfactorily? If no, explain the circumstances and the action taken to Yes
remedy the situation.

Have you received the progress reports required by this Assistance Agreement? Yes

Have you checked the terms and conditions noted in this Assistance Agreement and ensured that
the recipient Is in compliance? (e.g. QA Plan)

Yes

Commitment Clerk

NGGS PDF Generated 03/10/2025 2:49:12 PM Page 2

EPA_00042064
2:25-CV-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 9 of 136
Grant # F-00336525-1 Page 3

Commitment Clerk

Funding Region Commitment Clerk

EPA R3 ¢« Dennis Oconnor

NGGS PDF Generated 03/10/2025 2:49:12 PM Page 3

EPA_00042065
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 10 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/20/2025 8:00:16 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042066
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 11 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042067 - EPA_00042132
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 12 of 136

Message

From: Beck, Nancy [beck.nancy@epa.gov]

Sent: 3/20/2025 9:50:28 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: EPDs

Attachments: IRA-BIL Update for Leadership - Feb 10 version.pptx

See slide 12- we are giving out 160M in grants to develop EPDs..
If you want me to get a read on how hard the ask is, | can do that to help level-set GSA expectations.

EPA_00042179
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 13 of 136

Talitclatelam axsxelUreaiie)em-\eim.7

Ji eye adty- lam alia tl ime rete acis mr: Wa ea gole lel eal—
Oj fiero) MOTT RM Fi § ee OL KALE LeLL

-1ol dU F- [aoe it Ie 0 P43)
Te ee

sa az
Tl ==
> 4 = nM mI a
 — “ad ae — — \ ee “NS =
— - an > Fee ——— | | ee a

|
Yo ¥ Uy aihecte fche=y src)
7 lSavalcoa alae] edcey-teit rola
LY 4 clay

EPA_00042180
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 14 of 136

ee Ora) (0134 ae

Moret tatiestey MV ELC ier) LO} eo) exelent i(ss-m ce)
ecxe [Ulex mt nl Sy (0) a

TaviecLacolams<-vo Leroi (ola W-A\oimco) my40PIP2

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

EPA_00042181
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 15 of 136

SV Or (O] si =emclele)erelaiiare
METaLelccKord bl c=) e-wream Coli avalale miatom i (cla. Cet!
Con

foe Ke)
Lean FAP FAP}

rece Melati miels
CoCo ee roid Co lM eels [Cg By
(oR la elge ra dB
Sa) lela mey mM gore aee ik
oat IEF)

iteovaes clas
ee est nae Lege)
LCoer:) Py e=h e- 4
asic sleyar) Mere) [tateky

(erie tam cols
Bite (Tee CMU aCe}
Tia aM tela <a 9

NSIT MeV laeele eM WALTON celica elma core (eco a DYtolreLee| dol atom (ol 1D) dat -\alatsi-fe MiKo)
Elca AM coy Ae VANE oleae Coli me (ni elale|

Sle) Mee TaL Me Ui L Aco a CM Ke) mmm CoN WATitl sLetel (Le Mmor=l a ele) a Mar Wed (ellaTemeey Tay eae aig
eed Mel mace eae mel ticle cyto dale eolU Lda

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a NAW AN A=) oF =(0N17 4 7a [s}
Lyd PNeleiated

EPA_00042182
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 16 of 136

IRA C-MORE: Key Definitions

bal ap] exexe (=f MO-1g ole) se Maem ected al pLalektemexehMelanyecs lela kee kcsolelelacte mn Aida maalem oleate 0 [oid(a) a mci kelx-Ma) mela) cole) UTo micah ici (oN
ry dugclaid(olapmdeelakyoco) amr) ate maate/aleyiccloimelayatea pumiate lier) acto ire\cmmG] (olor celanallatcm xolecdaid te] iam (CA A Ard ola ire]aln ol DM (Yet Mi pt=> den |(eL-) Bs

(Wy Come (ol (-WaCy=ret 1 of-) pi ROW MM atsMacalanvel| (clu lolamelaloms\z-) (Uclu(alaMa)muatcMlalalujccemalljvolUlacw-ValoMmuat-Melalcclardte] melaUlce)alanteialil|
Taal ereleiaswa) area) gale [Uloiary'cinclanme ny coll )o4 pfolel am jecm ||c-Wen'(oi (<n (S(O) 4101/69 20]015)}

PU leeyaltat=)ate-) Mm eacetel Com BY-rolt-Ve- ya Co) aM (aca B) Vail old Dare mcdeel alo fel qel rAclomcsUlpalante] ava acl eel a mle) ar- Wo] malo [UL oiascm || (Wai fol(eMreKsict ck} 9 a1 = 0108
Elion A larcanycoUmeo nese] [Urejacmaatemeva\ dee) alaayeyalec] Mina) exe{eime) me We) gale ll loi al ofc) ecm Zell Mell] coigr-koW lem (areKyto (ka) om {Ome (0P2opy20)010))

LF xeole [Vlog O-he=t-o) va (-Md 201.0 My Mcicl ma) im ol etal i Lom au] (exec co] Ul I g-Vpatc aiecur-]alomeael (oled [latctcm ce) me le\Z-)(o)el|gyeal el Dom ce) ma) arcime) mu avel ict
(a) geo 0 lou ore] u=texolg (=e AY e](or-)| \Vaol=n{-d(e) ol=\om oy a aol Uciug eoau)nvel LopmaaTeliukite].<-)ale)(e(-lmcim-Valereleemel scl le) s)paleinie
fora) aalaaviect=Kwm (oy-\i-¥o a) g ls oO) -(Y2oyy010)c))

Yo ¥ Uy aiecte fche-ytcrcy
7 letanaicela ant tured anenctattey a NY AWANAC=Y OF =0N"7 A aa [C4
Lyd PNeleiated

EPA_00042183
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 17 of 136

Environmental Product Declarations (EPDs)

Discloses the “lifecycle” environmental

...but without a lab test for all impacts and
impacts of a product similar to a without the “recommended values”
nutrition label Up to “buyer” to specify
thresholds
Nutrition Facts
ENVIRONMENTAL IMPACTS Serving Size 2/3 cup (559)
Declared Product: Servings Per Container 8

Compenssive strangtty 2000 PSI at 28 days

Declared Unit: 1 m’ of concrete

Global Warming Potential (kg CO2<a)

Crone Oepieton Potential (ko OFC! t-<q)

Total Carbohydrate 379
Dietary Fiber 4g

Sunare 198

an
m® FEF a oi
x) a] asd] saa) a] 13) iS)
A mean ee ESraTet centered

PNeleiated

YAWANAC=) OF =0\"7 A a [sy

EPA_00042184
2:25-Cv-02152-RMG Date Filed 04/21/25

7A Ore (O] 51 ea Creel a-te mo) avU /4Uyy4)

AY (oY = Yor d[e) eT CNET ke 1) e214 18 (2) eo

Veo =Xos 0) ao) 0 2

Provides $250 million through FY31 to EPA to

develop an EPD Assistance Program by

improving transparency and disclosure of

GHG for construction materials and products.

* Catalyze development and verification for
EPDs for construction materials and
products

* Provide grants and technical assistance

* Support the development of robust and
standardized EPDs

* Help facilitate the procurement of lower
embodied carbon construction materials
and products

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

Entry Number 109-5 Page 18 of 136

Taye Wey=veu tle) ainsi tM ia ie)

Provides $100 million through FY26 to EPA to
create a label program for construction
materials and products with lower embodied
carbon:
* Identify and label materials and products
with lower embodied carbon
* Set standards that can be used by state,
local, and private partners

* Help federal, state and local entities,
manufacturers, architects, and engineers
make more informed purchasing decisions

NYAWANA=) OF =0N"7 a Is)

EPA_00042185
2:25-Cv-02152-RMG

OFF |! (@) 54 =a ad coker: lan .\ 0) e)mey-lers

Date Filed 04/21/25 = Entry Number 109-5 Page 19 of 136

Lal

Support Manufacturers in

Disclosing Emissions via EPDs
* Technical assistance for developing

EPDs through grantees
* Direct advisory services and other
EPA resources for developing EPDs
¢ Data quality improvements

UT aiiecTe Meh ezy ics)
Savalcola aatiaie | agent-tel trol
PNeleiated

Offer Manufacturer

Recognition via Voluntary
Product Labeling
Drive demand by
simplifying purchasing
decisions

Provide Ongoing
Assistance to the
Construction Industry
Help manufacturers access

the growing market for
cleaner products

Establish Consistent

Definitions

Set embodied carbon thresholds to
unify a growing market, making it
easier for manufacturers to participate

STAN TANTAC=Y OF- It =10\17 4 7

EPA_00042186
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 20 of 136

SVAN Ore 1) 54 mim .@-\Vaboy 1 (= ale) (o(:) eae

ea keke] elon ee: l ad (eg| oy: a yy

Alliance for American Manufacturing (AAM}

Fenestration & Glazing Industry Alliance (FGIA}

American Chemistry Council (ACC) Gypsum Association (GA)

American Coal Ash Association (ACAA) National Asphalt Pavement Association (NAPA}
American Composites Manufacturers Assoc. (ACMA) _ National Glass Association (NGA)

American Concrete Pavement Association (ACPA) National Ready-Mix Concrete Assoc. (NRMCA)
American Concrete Pipe Association (ACPA) National Slag Association (NSA)

American Inst. for Steel Construction (AISC) National Stone, Sand, & Gravel Assoc. (NSSGA)
American lron & Steel Institute (AIS!} North American Insulation Mfr. Assoc. (NAIMA)
American Wood Council (AWC) Portland Cement Assoc. (PCA}

Asphalt Recycling and Reclaiming Association (ARRA) _— Polyurethane Insulation Mfr. Assoc. (PIMA)
Asphalt Emulsion Manufacturers Association (AEMA) — Precast Concrete Institute

Asphalt Institute (Al} Spray Polyurethane Foam Alliance (SPFA)
Associated General Contractors of America (AGC) Steel Manufacturers Association (SMA)
Association of Modified Asphalt Producers (AMAP) Steel Tube Institute (STA)

Brick Industry Assoc. (BIA) Specialty Steel Industry of North America (SSINA)
Cellulose Insulation Manufacturers Assoc. (CIMA) Tile Council of North America (TCNA}

Concrete Reinforcing Steel Institute (CRSA) Treated Wood Council (TWC}

Extruded Polystyrene Foam Association (XPFA) US Tire Manufacturers Association (USTMA)

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a AWANAC=) OF =0N"7 da (ES)
Lyd PNeleiated

EPA_00042187
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 21 of 136

SV Ors (O] 54 aim =U (ele (1 mes) r- lie ts

; vcr : Breed fe
Mol z=] AV=<-11(\ CSET As) rae fo) oF hese Eel | - ee oy e-] SY oY -1n ae F
PU darel gia ame) n=l all WO) ai fe-1) rate by 9 2) See Co) it ay £9 2)
IRA 60112 $250,000,000 $13,364,892 $236,635,108 $24,457,949 $212,177,159 $2,940,955
($153M in

grants awards
are pending)

IRA 60116 $100,000,000 $9,614,892 $90,385,108 $11,466,622 $78,918,486 $6,122,722
TOTAL
60112460116 $350,000,000 $22,979,784 $327,020,216 $35,924,570 $291,095,646 $9,063,677

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a YA ANAC=) OF =0N"7 a(S)
Lyd PNeleiated

EPA_00042188
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 22 of 136

Sv Ord (0) 54 =i = 10 fe (e (=) mo) r- LAU lm ohVam) er-vacellale

uted uisSS Z ld roe UWS TF Ne 79
IRA 60112 $250,000,000 $13,364,892 $236,635,108 $24,457,949 $212,177,159 $2,940,955
Salary/benefits $22,230,000 $2,181,674 ($153M in grants $2,181,674
Travel $25,000 $5,947 awards are $5,947
Contracts $8,233,000 $3,807,694 pending} $693,975
WCF $1,235,000 $59,360 $59,360
Grants $203,400,000 $18,403,274 so
IRA 60116 $100,000,000 $9,614,892 $74,589,000* $11,466,622 $78,918,486 $6,122,722
Salary/benefits $6,030,000 $2,625,754 $2,625,754
Travel $125,000 $95,146 $95,146
Contracts $20,697,000 $8,548,005 $3,204,106
WCF $335,000 $197,717 $197,717
Grants ** $47,400,000 SO SO
*Unclear where OCFO has assigned remaining $15.8M
**In process of being recategorized (no grantmaking authority under 60116)
3 mean eae ae Tagenecteitteth) WAT AN YAC=) OFF =10\"7 | al fan)
LY 4 Cello

EPA_00042189
2:25-Cv-02152-RMG Date Filed 04/21/25

Entry Number 109-5

xy Oze |! (@] -4 aim =y-1a0 Wm Oxe) pl ig-(eike) my axe) (2s

Page 23 of 136

(Oxoyahie-leim died Counms-[aWy4IVL: ome DIUC- Com ire lal malentcliecltarctowoy mm (pe emoxe) al iv: [elke] e-Mar-)V cM ec-t-Vameld| (y4-tem Comr-LUleli aval
St ey AWD EL Te Lake Med. oLe) ai eto MACHO | clan ox-vowm olga) OM) oMince) a ccmmerolal ies Leice) mi (cYed aval (or=] pr-lot-q cae ales alctcte ace) g
Matesotomeisrea to) arowe) ml lave AIIM aexe LU Cex

a oA Ore LO) Amie) C1 aCe) (1)

om-erecormelualear-larel|aromcemc=r-le(-1e\al| Om dareumcvarelel (Res ( OP] har- Es
CTUiaiCel(-lalan=tgaB Merc le-MoLer-) [hata aaa Coy 1 mMmoc la oe] aM Tare L Kola] 3

Wome Lal cole-lexearen mecote) ge areliCol arm ef] aniol| y-Lil ala gma Oly él kelarete] cols
feleWrc-llo) ¢)qa-lA1am Uk=ei-lane-| lela w-| Meelaliclk-lse-cWmel 1k -toM af
ikote) PAgcexolUlgacMo(-\c-l(e) laatainia

om eaemeleh {cl (0) OM =i dD -d0) (ol-] arom Kore] metal e) oY kel are] 7coM =i aD Re f=) f)

Ca eae [ahah [0] @Perocolual o\-1iidlelapes-1(-col (el sPa@MAe-llal alae teen
Colc1eldaheareo) audecrol Msar-lar-l<-1ual-l alae larem abl are) (alcaeerel aller

ow Sm are AreT xem seo lx ol Mmen cl eNcLoM 9] cele tame] H tel aMmen clea
forewc-lfo] etal Al menmer-le-M°)C-1AcOld tam acl] Clare) (o(-1m aria Neola aT

re \ LU Tavixete fot ecytcrsy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

Contractor Roles

Technical assistance

* Support EPD technical assistance for manufacturers

* Support Project Officers with reviewing grant packages

* Help onboard mfr. label partners & verify products qualify
Data and analysis

* Develop/analyze lifecycle & other data to support EPDs
Content/tool/resource/website development

* Support development of tools/resources/materials for mfrs.

* Assist with website development/maintenance
Logistics, stakeholder engagement
* Organize stakeholder engagement events/webinars
* Collect and organize stakeholder feedback
IT & program evaluation
* Build IT systems to store/analyze/track EPDs
* Assist with program metrics/eval & IT dashboards/reports

DAT ANYAC=) OFF =10\17/| al [aa

EPA_00042190
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 24 of 136

SVAN Ord (@] 54 iad ad ole | a=t-t- a Kom DE-1K-)

5°) Cole F-1 mm ( Dione 40 YAN [1 ALY 45)

Support Manufacturers in Disclosing Emissions via EPDs
* Announced and currently working with 38 organizations to receive ~S$160M in grants for developing EPDs
* 14 industry trade associations, 9 manufacturers and 15 other orgs (e.g. universities) that are partnering with and
supporting construction material manufacturers
¢« Launched EPA-based technical assistance to support industry until grantee projects are fully mature
¢ Issued technical resources and established intergovernmental partnerships to improve EPD data quality

Establish Consistent Definitions

. Issued interim determination on what qualifies as lower carbon construction materials to enable GSA and FHWA to
implement their relevant IRA directives ($4.15B on steel, asphalt, concrete, glass)

. Published Draft Approach for Developing Product-Level Embodied Greenhouse Gas Emissions Thresholds and requested
input from industry/other stakeholders

Offer Manufacturer Recognition via Voluntary Product Labeling

. Incorporated industry/public comment and issued Label Program Implementation Approach
. Published Draft Product Eligibility Criteria and requested input from industry/other stakeholders
RF ae Tagenecteitteth) SATAN YAC=) OF- 1 =10\17/) a [an a
Nolclareng

EPA_00042191
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 25 of 136

SVAN Ore | (@) 04 mam FT) Celt lialiare

AMX OW i oe Be] oY) ee ae 40740 LO a td DES a oh AIR 9 |

Support Manufacturers in Disclosing Emissions through EPDs
. Continue efforts to improve datasets, LCAs, EPDs, etc. through collaboration and technical assistance
. Manage grants and measure results to seek continuous improvement

Establish Consistent Definitions

. Establish a repository of high-quality EPDs to be used to determine what qualifies as ‘lower carbon’ by product type

. Engage stakeholders; issue draft thresholds for specific product types; address public comments; issue final thresholds
for each material category

Offer Manufacturer Recognition via Voluntary Product Labeling
. Establish a system to identify and label products
. Build an online registry of labeled products based on their EPDs

Other

. Explore role of EPDs and thresholds methodology in supporting pollution fee-related trade goals

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a DAW AN A=) OFF =10\"7/| al eal}
LY 4 clay

EPA_00042192
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 26 of 136

157A Ora! [0] 34 am lea 3

(OFe)V/-1 km ole) damol tm Pr Vale moll hod al-\oXe (-)

Per 60116, the program is directed to base its label program on manufacturer EPDs and procurement efforts of
State agencies. Currently, there is insufficient publicly available sources of this information to implement the
program.

To evaluate and improve 60112 program offerings, EPA needs to collect standardized information from grantees and
EPD technical asst recipients.

* The second FRN covering these data needs has published and is open for public comment until 2/18. If OMB
chooses to, they could approve as soon as 2/18 to allow data collection to start immediately.

Data to be voluntarily reported includes:

¢ Types and amounts of asphalt, concrete, cement, glass, steel, and salvaged & reused construction materials
purchased/used, including reference to Environmental Product Declarations (EPDs) associated with these
products where available.

* Grantee reported project results (e.g. # of manufacturers assisted, # of EPDs developed/collected).

A survey to assess how well program technical assistance is meeting the needs of its customers and to collect

results of the technical assistance.

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a DAT AN TAC=) OFF =10N17 | al [aa
LY 4 clay

EPA_00042193
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 27 of 136

exo) IUh Colom ed ach (cate) aM (aa4)

Yi eyed eT LAM lice Eee ered el c= Wl -) me) ade pa |

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

EPA_00042194
2:25-Cv-02152-RMG

Date Filed 04/21/25

1} | Mil =>'¢ oF Lale (=e mt Ofes-) ml = acclond AV

ecolILOL Mola M educa (cvald(o)pmeie- alto obi,

Entry Number 109-5

P2 gets results.

Businesses working with grantees have saved
$2.3B combined between 2011 & 2022.*

This equates to a 3,688% ROI on the $60M in
grant funds distributed from 2011-2022 .*

Page 28 of 136

nto10)\V/r-1e)0)xe]8)ir-Wt-ce MU) are-1mtatoMece)|U]Ue aM edn en'c-lnt(el air. Celem(e)
ix-luarclinweeNZellcle)(=M Ul alt] =>.4el-1are(=Xo Nl (gh e740 /-arewA0 20)

on 20)\1/ =>. de\-set=(eMl| Am em A045)

Waste management is
expensive.

owes
Pane

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

Grantees help businesses

P2 Grants fund State and
university programs seeking
preventative solutions.

TRI facilities reported 460k P2 actions 1991-
2021 avoiding ~6-19B Ibs of toxic releases.**

Grantees and stakeholders
document & share solutions
through various networks.

With access to best
practices and free
assessments, US businesses
continue to reduce costs
and pollution.

ring 2023.pdf

Sr
ce-reduction

AA AN YAC=) OFF =10\"7/| 2a [an c)

EPA_00042195
2:25-cv-02

152-RMG

Date Filed 04/21/25

Entry Number 109-5

Page 29 of 136

nw
nN
a

Millions

Le

n

Lal

UT aiiecTe Meh ezy ics)
Savalcola aatiaie | agent-tel trol
PNeleiated

Annual Grant Funding by Program

$15

SPP PP KP PM Oy ”

mSRA mP2 BBIL

+
a
vy
vs

2

Funding
/Round

$13.9 to
$16
million/
2 years

Program

a=) |

PCr ee] anes) 10
million/
2 years

Soli ce 1.5
aelredely) million/
EGokielecms 2 years
Teale)

Eligible Entities

States and
Tribes

States and
Tribes

States, Tribes,
local
governments,
and non-profits

Description

Expanded P2 grants, no match required.

For states and Tribes to provide businesses
with technical assistance to help them
develop and adopt P2 practices. 50%

match required.

Funds projects that support research,
education and/or training of innovative
source reduction techniques. 5% match

required.

https://www.epa.gov/p2/grant-programs-pollution-prevention

SAN aN YAC=) OFF =40\"7 | a MEP

EPA_00042196
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 30 of 136

a =) | Cle: lal cow Cer ges-t-wa dal m Oxzelelalia’,

@ P2 BIL Grants
e TRI P2 Actions

20-23

N aapeee. ot
Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a AAT AN YAC=) OFF =10\17/| 2a [aE
LY 4 clay

EPA_00042197
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 31 of 136

3} | Ms LeCole (smo) r-1A0 teem Ul avellaremanlelule lim um My4ly4e)

OTe) oleae al

i OTE odd } 2

BIL Funding $80,000,000 Overhead: $2,288,000 $71,376,133 $35,544,728 $35,831,881 $14,667,416
Regions: $6,359,000

Salary/Benefits $6,079,626 $2,667,825 $3,411,801 $2,667,825

Travel $143,856 $46,508 $97,348 $35,536

Contracts $8,953,925 $2,431,562 $6,522,363 $1,138,367

WCF $565,726 $402,833 $163,369 $366,688

Grants $55,633,000 $29,996,000 $25,637,000 $10,459,000

*available balance + open commitments

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a NAW ANA=) or =(0N' 1 7a UE)
LY 4 clay

Number of FTE right now.

EPA_00042198
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 32 of 136

naan K=y- 100s OXe) pliers (e1k0) am no) (21>

A eae) FT ed) Contractor P2 Mission-Support Tasks
(Ne) ze) 1. Communications support - P2 website,
fools a} ol-1did(o)apuci=l{=veid(olae 2@hae-) ayia} outreach materials development
elas 2. Event support for webinars and Annual
CoNY=16-11 4 ee r=1 = Iee) | (Lead o) a =i Kon P2 Conference (attended by 200+ in-

person + hybrid)
mueY:V (Ol nm ol co)=1¢-101) 3. Systems development support
ud go] W=t4V MNF] LOE 1u(e) a) for program evaluation, data collection
arellUkel fares for grants
rola nvanlelalter-ia(olarcem=n'c-laime)f-Vavallay# 4. P2 Hub - Answering grantee technical

late MN k=) aemel=i'/-) (eo) lealsiale questions sent to the P2 Hub
ite)

id ataW s(e¥4[olasmolaM ead Pak] e-] aye

Ye \ AU Tanikete Mote yicrsy
7 letanaicela ant tured anenctattey a AA AN YAC=) OFF =10\17 | al a2)
LY 4 clay

EPA_00042199
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-5 Page 33 of

3) ad ole | gest 9m Kom B= K =)

Lal

Laetoli (-t-10

22-23

23-24

23-24

24-25 (in-

progress)

LOT amie=Te Resi echt)
Savalcola aatiaie | agent-tel trol
PNeleiated

py -Pyod | eit Cel)

P2 BIL -- Based on
traditional approach
P2 BIL- Emphasized P2
Work in Underserved
Communities

P2 BIL- Emphasized
Safer and Sustainable
Products

P2 BIL-- Based on
traditional approach

tere
PET cole}

39

dal

a2)

6 out of 29

INC me mm ACL aN Eee re (oY 1g

bom Ley

$12M

$8.48M

$8.01M

$9.3M

(6])

$350K/grant

$800K/Grant ($1.2M cap for
multi-state or multi-tribal
projects)

$800K/Grant ($1.2M cap for
multi-state or multi-tribal

projects)

$350K/grant

SAN an YAC=) OFF =10\'7 | a Pa

136

EPA_00042200
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 34 of 136

SII ME) CR Tarelialare

FY 24-25 Grants
¢« In total, 29 grants were selected for P2 BIL funding.
*  6grants have been awarded. (Regions 3, 5, 8; IL, MI, MN, MT, UT, VA)
¢ 23 Grants remain to be awarded.

FY25-26 Grants
* — BlL-only competition for approximately $16M (13.9M + remainder of previous year funding)
¢ — Emphasis on helping businesses

FY26-27 Grants
* Additional Round for approximately $13.9M (P2 BIL).
* Would supplement traditional funding (P2 Grants).

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a DAT TANYAC=) OFF =10\17/| al [Pea
LY 4 clay

EPA_00042201
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 35 of 136

lsd: Wort le) ew Neletaritel

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a NAW aN A=) OFF =10\"7 | al eas
LY 4 clay

EPA_00042202
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-5

Ie ¥ 2s Ots \!(O) 54 share) c-1im =>.4 Ole) a Xs)

Page 36 of 136

Staff expertise:

* Environmental/economic/financial data
development/analysis

¢ Business-government partnerships

¢ Structural engineering, architecture,
building/construction materials, specifications

* Procurement and supply chain
analysis/management

* International trade

¢ Regulatory compliance

¢ Voluntary consensus standards development

¢ Industrial efficiency, energy management,
pollution prevention

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

Product lifecycle analysis, emissions inventories,
and environmental disclosures

Industrial hygiene, toxic chemical management
(TSCA, PFAS, flame retardants)

IT systems development

Contract/grant program development/
management

Budget/financial planning/analysis
Strategic/project planning, project
management, fiscal oversight, Lean Government
Communications, technical writing, stakeholder
engagement

SA AN AC=) OFF =10\"7 | al Ps

EPA_00042203
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 37 of 136

| ays Ory |" (@) 54 atm Ml aayslilalsmcemer-ii>

December 2022
January 2023
September 2023
January 2024
January 2024
February 2024
March 2024
July 2024
August 2024
November 2024

December 2024

rae
Ered Interim Determination of what qualifies as lower carbon construction materials for GSA and FHWA
Published Request for Information (RFI) to get input from industry & the public on shaping the programs
Issued Notice of Funding Opportunity for IRA 60112 EPD Assistance Grants
Grant applications due
ERG contract became operational
Published Draft Label Program Approach for Public Comment
Published Draft Product Category Rule Criteria for Public Comment
Announced grantee selections
Issued Final Label Program Approach & key data quality improvement resources

Launched direct EPD Technical Assistance for manufacturers (to fill gap until grantee-based asst has matured)

Issued call for stakeholder input on draft technical documents for low embodied carbon construction materials program
and shared 2025 action plans

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a AAT AN YAC=) OFF =10\17 | aul [easy
LY 4 clay

EPA_00042204
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-5

av Ord [O) 54 Sal WMS SYES) e) oat Oey ald (eal

(TT aXe (=) ae (A121 (6) oy 11-019)

Page 38 of 136

Materials Data Platform (MDP)

The Materials Data Platform combines an internal EPD
Repository for collecting, storing, reviewing and analyzing
construction material environmental data with a public
Product Registry to help buyers identify and procure low
embodied carbon products.

Key Manufacturer and Industry Benefits:

* Increasing manufacturers’ visibility to buyers who are
interested in construction materials with lower embodied
carbon by publicly listing construction products labeled
by EPA

* Minimizing industry burden by transforming
unstructured PDFs to a standardized, machine-readable
format

* Streamlining data exchange across the value chain by
encouraging the adoption of a standard digital schema
for EPDs across the industry

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

Stakeholder Relationship Manager (CRM)

The CRM will manage stakeholder relationships and
automate key processes for EPA’s C-MORE program,
including manufacturer partner onboarding, technical
assistance coordination, and tracking program metrics to
demonstrate impact and inform strategy.

Key Manufacturer and Industry Benefits:

* Accelerating technical assistance through a streamlined
digital process to capture and manage inquiries

* Improving stakeholder engagement experience by
providing clear tracking & communication channels to
monitor label product review status, receive updates &
engage with EPA support resources

* Reducing redundant and inconsistent communication by
providing an external-facing portal that will empower
staff to manage industry interactions across C-MORE
workstreams

AA aN YA=) OFF =10\"7 | a PA)

EPA_00042205
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 39 of 136

ml Neyer

Yo ¥ Uy aphecte fche-ytcrcy
7 letanaicela ant tured anenctattey a AAT AN AC=) OF 110017 | al Par
LY 4 clay

EPA_00042206
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 40 of 136

yA =) | Mo ivy ate (sro mae) eliler-tikeya tweets) (sreuicve Mm cel m-AN Clee

(CO]U) mo) mr- So w-Vo) e)irer- areolar)

ite h allege oy=1(e\ MAN Aom Slax=1A oh cleel are

Ce Cc

Univ. of Massachusetts — Boston $350,000 Univ. of Minnesota $233,022
Univ. of Massachusetts — Lowell $349,899 6 Univ. of Texas — Arlington $349,435
Univ. of Massachusetts — Amherst $349,363 Louisiana State Univ. $350,000
Univ. of Southern Maine $350,000 7 Kansas State Univ. $350,000
2 NY State Dept. of Env. Conservation $253,995 Univ. of Northern lowa $175,159
Rowan University (New Jersey) $349,979 Univ. of Missouri — Rolla $349,712
3 VA Dept. of Environmental Quality $253,391 Missouri State Univ. $336,774
Univ. of Maryland $350,000 8 Montana State Univ. $349,727
4 Univ. of North Carolina $350,000 Univ. of Utah $350,000
Univ. of South Florida $349,690 9 California Air Resources Board $350,000
Univ. of Alabama $295,870 Univ. of Nevada — Reno $350,000
Univ. of Louisville $305,738 10 Washington Department of Ecology $239,961
Georgia Tech $350,000 Portland State Univ. $348,050
5 Central Michigan Univ. $287,645 Knik Tribe (Alaska) $349,822
Univ. of Illinois $281,280 Funding Total for 29 awards $9,308,512

YoY Oy aihecte fche-y isc)
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

EPA_00042207
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 41 of 136

roy Winters :
7 letanaicela ant tured anenctattey a DAT AN YAC=) OFF =10\17/| al eae)
LY 4 clay

EPA_00042208
2:25-Cv-02152-RMG Date Filed 04/21/25

Entry Number 109-5

Page 42 of 136

NT SVAN Co) a tal oe A OY 40 el eV t

SK ifta

NEA #1: Food and NEA #2: Chemical
Beverage Manufacturing Manufacturing, Processing
and Processing and Formulation

Yo ¥ Uy aphecte fche-ytcrcy
7 Savalcola aatiaie | agent-tel trol
LY 4 clay

O)

NEA #3: Automotive NEA #4: Aerospace
Manufacturing and Product and Parts
Maintenance Manufacturing and

Maintenance

Align with EPA Smart
Sectors program in the
EPA Office of Policy

bee

NEA #5: Metal
Manufacturing and
Fabrication

a

NEA #6: P2 in Indian
Country & Alaskan Native
Villages {only for tribal
applicants).

SAN aN AC=) OFF =40\"7 | 7a (0)

EPA_00042209
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 43 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/17/2025 8:01:19 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042210
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 44 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042211 - EPA_00042276
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 45 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 2/18/2025 9:22:09 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: FW: Pending Monetary Award Actions Report

Attachments: Pending Monetary Award Actions.xlsx

Daily pending grant award report. Please take a look and if this aligns with what you are looking for then I will have to
added to the daily report.

From: oms-arm-ogd-grant_reports@epa.gov <oms-arm-ogd-grant_reports@ epa.gov>

Sent: Tuesday, February 18, 2025 4:12 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>; Hublar, Jennifer <Hublar.Jennifer@epa.gov>; Wise, Melissa
<wise.melissa@epa.gov>; Sylvester, Kenneth <Sylvester.Kenneth@epa.gov>; Schindel, Phillip
<Schindel.Phillip@epa.gov>; Tsing-Choy, Kathy <Tsing-Choy.Kathy@ epa.gov>

Cc: Wilson, Kevin <Wilson.Kevin@epa.gov>; Nguyen, Minh <nguyen.minh@epa.gov>

Subject: Pending Monetary Award Actions Report

Attached is a Report of Pending Monetary Award. This report is daily generated. Please contact Phil Schindel
or Minh Nguyen for questions about the data or if the report needs to change. Thanks!

EPA_00042350
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 46 of 136

This document is produced in native format.

Original file name:

Pending Monetary Award Actions.xisx

EPA_00042351 - EPA_00042412
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 47 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 2/19/2025 7:57:02 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
Subject: FW: Daily Summary Report of Grant Terminations as of 02/19/25

Attachments: Grant Terminatons List.xlsx

FYI, this is what our tracker will look like on the grants side (it is including pre-award cancellations).

From: Tsing-Choy, Kathy <Tsing-Choy.Kathy@ epa.gov>

Sent: Wednesday, February 19, 2025 2:47 PM

To: Wise, Melissa <wise.melissa@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>; Hublar, Jennifer
<Hublar.Jennifer@epa.gov>

Ce: Schindel, Phillip <Schindel.Phillip@epa.gov>; Wilson, Kevin <Wilson.Kevin@epa.gov>; Nguyen, Minh
<nguyen.minh@epa.gov>; Wilson, Kevin <Wilson.Kevin@epa.gov>

Subject: Daily Summary Report of Grant Terminations as of 02/19/25

Hi all,

Attached is the summary report of Grant Terminations. This report shows one grant cancel that has not yet awarded. No
additional update since 02/14/25 report.

Kathy Tsing-Choy
Associate Award Official
OMS-OGD-GMBOD-BOB
202-565-0049 or MS Team
tsing-choy.kathy@epa.gov

“To serve as a leader and supporter, live a balanced life, and to build collaborative relationships among individuals or
group members toward a common vision.”

,OMS

— SF AitsIOn ae

EPA_00042413
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 48 of 136

This document is produced in native format.

Original file name:

Grant Terminatons List.xlsx

EPA_00042414 - EPA_00042418
2:25-Cv-02152-RMG Date Filed 04/21/25

Entry Number 109-5

Page 49 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 2/20/2025 6:44:07 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: Termination Memo - draft

Attachments: Termination Memo_dc.docx

Kathryn, for us to move forward on the 22 terminations that Travis approved, we need to finalize the termination memo. I
have flagged two areas that could use your review/ help. We were going to go over this with you tomorrow PM but it is
holding up the current terminations so I’m sharing over email. Please let me know if you want to connect briefly to

discuss.

EPA_00042419
2:25-Cv-02152-RMG Date Filed 04/21/25 =Entry Number 109-5

Page 50 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]
Sent: 2/21/2025 8:18:45 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]
Subject: Termination Memo

Attachments: Termination_Memo_Template_Feb21.docx
Importance: — High
For awareness, the final version going out to recipients.

Dan

EPA_00042501
2:25-Cv-02152-RMG Date Filed 04/2 Ve>srq, Entry Number 109-5 Page 51 of 136
» &

OFFICE OF MISSION SUPPORT
WASHINGTON, D.C. 20460

[ DATE \@ "MMMM gd, yyyy" ]

MEMORANDUM

SUBJECT: Termination of EPA Assistance Agreement [Grant Number] under 2 CFR 200.340
FROM: EPA Award Official

TO: FirstName LastName, Title

Office (Recipient Authorized Organization Representative (AOR))

The purpose of this communication is to notify you that the U.S. Environmental Protection Agency (EPA) is
hereby terminating Assistance Agreement No. [insert Grant Number] awarded to [recipient organization]. In
accordance with 2 CFR 200.340(a)(2) (effective August 13, 2020 — September 30, 2024) and the Termination
term and condition contained in the EPA General Terms and Conditions effective August 13, 2020 — September
30, 2024, EPA Assistance Agreement [INSERT Grant Number] is terminated in its entirety effective immediately
on the grounds that the award no longer effectuates the program goals or agency priorities. The objectives of
the award are no longer consistent with EPA funding priorities.

It is a priority of the EPA to eliminate discrimination in all programs throughout the United States. The EPA
Administrator has determined that, per the Agency’s obligations to the constitutional and statutory law of the
United States, this priority includes ensuring that the Agency’s grants do not support programs or organizations
that promote or take part in diversity, equity, and inclusion (“DEI”) initiatives, “environmental justice” initiatives,
and conflict with the Agency’s policy of prioritizing merit, fairness, and excellence in performing our statutory
functions. In addition to complying with the civil rights laws, it is vital that the Agency assess whether all grant
payments are free from fraud, abuse, waste, and duplication, as well as to assess whether current grants are in
the best interests of the United States.

The grant specified above provides funding for programs that promote or take part in DEI initiatives or
environmental justice initiatives or other initiatives that conflict with the Agency’s policy of prioritizing merit,
fairness, and excellence in performing our statutory functions; that are not free from fraud, abuse, waste, or
duplication; or that otherwise fail to serve the best interests of the United States. The grant is therefore
inconsistent with, and no longer effectuates, Agency priorities.

The process for closeout is generally outlined in 2 CFR 200.344. EPA is clarifying what reports are required and
what reports are waived below. Other requirements are still in effect if applicable to your grant.

EPA is requiring the following closeout reports due within 120 days of closeout (2 CFR 200.344a:)
e Final Federal Financial Report, SF-425
e Final Technical Report
e Other programmatic reports identified in your terms and conditions

EPA_00042502
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 52 of 136

As part of this termination, EPA is waiving the following closeout reports:
@ Property Report, SF-428
e Final Minority Business Enterprise/Woman Business Enterprise Utilization Under Federal Grants and
Cooperative Agreements, EPA Form 5700-52A

The recipient may request payment from the Automated Standard Application Payments (ASAP) system for
allowable costs incurred up to the date of this memo provided that such costs were contained in the approved
workplan. Costs incurred by you after this termination are allowable only if (a) those costs were properly
incurred by you before the effective date of this termination, and not in anticipation of it; and (b) those costs
would be allowable if your federal award was not suspended or expired normally at the end of the period of
performance in which the termination takes effect. See 2 C.F.R. § 200.343. You are encouraged to carefully
review and discharge your closeout responsibilities set forth in 2 C.F.R. § 200.344-45 and your award agreement.
Those responsibilities include, but are not limited to, your obligation to “promptly refund any unobligated
funds” that have been paid out but “are not authorized to be retained.” See 2 C.F.R. § 200.344(g).

Also, per 2 CFR 200.472, a recipient may use grant funds to properly closeout their grant including reasonable
and necessary costs that might occur after the date of this memo. If the recipient drew down funds from ASAP
for costs beyond the termination date or for costs that exceed the amount necessary to properly closeout their
grant, the recipient must contact RTPFC at | HYPERLINK "mailto:rtpfc-grants@epa.gov" \h ] for
instructions on how to return the excess funds.

The EPA Grants Management Office has issued an amendment to the agreement to document the termination.

If you wish to dispute this termination decision, the Disputes Decision Official (DDO), [email address of the
DDO], must receive the Dispute no later than 30 calendar days from the date this termination notice is
electronically sent to you. Disputes must be sent electronically by email to the DDO, with a copy to the EPA
Award Official, [email address of EPA Award Official] within the 30-day period stated above. The Dispute
submitted to the DDO must include: (1) A copy of the disputed Agency Decision; (2) A detailed statement of the
specific legal and factual grounds for the Dispute, including copies of any supporting documents; (3) The specific
remedy or relief you seek under the Dispute; and (4) The name and contact information, including email
address, of your designated point of contact for the Dispute. See 2 CFR 1500.15

The requirements on post-closeout adjustments and continuing responsibilities, including audit and record
retention requirements, at 2 CFR 200.345 remain in effect.

ATTACHMENT

Amendment Document

cc: FirstName LastName (EPA Grant Specialist)

(EPA Project Officer)
(Grantee Program Manager)

EPA_00042503
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 53 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/21/2025 9:00:00 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042504
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 54 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042505 - EPA_00042564
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 55 of 136

Message

From: Kerry Drake [drake.kerry@epa.gov]

Sent: 2/21/2025 10:30:06 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]

Subject: URGENT: Contract or Grant for Cancellation Review

Grant: NEVADA SYSTEM OF HIGHER EDUCATION 97T04901 has been
submitted for your review.

Please click here to review the details and take action:
https://epabap.my.salesforce.com/a0SSJOOO0O00UMmL

When you have completed your updates go to the Approval History and
click "Approve".

We understand that this is a new workflow, so we are providing details of
the standard routing and service level expectation details below:

° Submission
° SRO and Senior Leadership response (within 24 hours)

° Review to determine whether mission critical or presents a
significant legal risk

Note: other Program Offices and Regions have been notified
and afforded the opportunity to provide feedback in Chatter

° Review and decision

° Required when SRO and Senior Leadership indicate mission
Critical

° Required if Administration Senior Leadership approval was
not indicated at submission

° Cancellation action (within 48 hours from submission)

° Act to cancel contract, provide cancellation/action ID and

screenshot in Files

EPA_00042565
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 56 of 136

EPA_00042566
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 57 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/22/2025 9:00:04 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042567
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 58 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042568 - EPA_00042627
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 59 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/23/2025 8:59:48 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042628
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 60 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042629 - EPA_00042688
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 61 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/23/2025 9:21:38 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-23

Attachments: Contract_Terminations_withAmounts_2025-02-23.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-23, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00042689
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 62 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-02-23.xIsx

EPA_00042690 - EPA_00042697
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 63 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/24/2025 7:01:45 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-24

Attachments: Contract_Terminations_withAmounts_2025-02-24.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-24, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00042698
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 64 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-02-24.xIsx

EPA_00042699 - EPA_00042706
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 65 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/24/2025 9:00:09 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042707
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 66 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042708 - EPA_00042767
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 67 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/24/2025 9:02:22 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: INSTITUTE FOR SUSTAINABLE COMMUNITIES 84061101

Office of Environmental Justice and External Civil Rights (OEJECR)
completed cancellation of Grant: INSTITUTE FOR SUSTAINABLE
COMMUNITIES 84061101.

Description: DESCRIPTION: THE AGREEMENT PROVIDES FUNDING
TO THE INSTITUTE FOR SUSTAINABLE COMMUNITIES (ISC) TO
SERVE AS A NATIONAL ENVIRONMENTAL JUSTICE THRIVING
COMMUNITIES TECHNICAL ASSISTANCE CENTER (EJ TCTAC). THE
ISC TEAM'S EXPERIENCE AND EXPERTISE OFFER THE NATIONAL
EJ TCTAC NETWORK A ROBUST NATIONAL COORDINATION
MECHANISM THAT WILL BUILD CAPACITY, REDUCE DUPLICATION,
AND USE COMPLEMENTARY SERVICES TO SUPPORT ALL LEVELS
OF THE EJ TCTAC PROGRAM. USING ISC'S NETWORKS, INCLUDING
ISC'S NATIONAL CLIMATE LEAD

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOO0000UMcd

EPA_00042768
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 68 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/24/2025 9:18:46 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: New Haven Ecology Project Inc 00A01436

Region 1 completed cancellation of Grant: New Haven Ecology Project
Inc 00A01436.
Description: Northwest Network for Environmental Justice-Initial Award

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXJV

EPA_00042769
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 69 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/24/2025 9:23:54 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Nueva Esperanza Inc 95334801

Region 3 completed cancellation of Grant: Nueva Esperanza

Inc 95334801.

Description: Hunting Park Community-Led Climate Resilience and
Empowerment Project

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO000UXOL

EPA_00042770
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 70 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/24/2025 9:24:56 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Appalachian Voices 95338201

Region 3 completed cancellation of Grant: Appalachian Voices 95338201.
Description: Building Community Resilience in Virgina's Coalfields with
Place-bsed Climate Change Adaption

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXPx

EPA_00042771
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 71 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/21/2025 6:01:56 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-21

Attachments: Contract_Terminations_withAmounts_2025-03-21.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-21, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00042772
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 72 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-21.xIsx

EPA_00042773 - EPA_00042792
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 73 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/24/2025 10:21:58 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Wichita State University 96701501

Region 7 completed cancellation of Grant: Wichita State

University 96701501.

Description: Environmental Justice Thriving Communities Technical
Assistance Centers Program

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXUu

EPA_00042793
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 74 of 136

Message

From: Mandy, Cora [Mandy.Cora@epa.gov]

Sent: 2/24/2025 10:24:28 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Vaseliou, Molly [Vaseliou.Molly@epa.gov]; Coogan, Daniel
[Coogan.Daniel@epa.gov]

Subject: RE: List of Grant Terminations - February 20

This is super helpful. Thank you, Kathryn!

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Monday, February 24, 2025 5:21 PM

To: Mandy, Cora <Mandy.Cora@epa.gov>; Vaseliou, Molly <Vaseliou.Molly@ epa.gov>; Coogan, Daniel
<Coogan.Daniel@epa.gov>

Subject: RE: List of Grant Terminations - February 20

Usaspending.gov says that only the larger amount has been outlayed: $2,006,774.22
GRANT to INSTITUTE FOR SUSTAINABLE COMMUNITIES | USAspending

For a total savings of $5,993,225.78 for that grant.

I’m not sure what is the source of that second outlay row, but it doesn’t seem to match up with any transaction
data that I can see in usaspending.gov. So it might just be a typo...

Kathryn

From: Mandy, Cora <Mandy.Cora@epa.gov>

Sent: Monday, February 24, 2025 4:41 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>; Coogan, Daniel
<Coogan.Daniel@epa.gov>

Subject: RE: List of Grant Terminations - February 20

Hi Kathryn,

I just want to make sure I’m getting this right. I’ve pasted the duplicate below, but outlayed and remaining amounts are
different. If they disbursed both the outlayed amounts listed from that $8M, there would be 4,429, 152.81 remaining of that
grant. So total taxpayer savings would be $62,965,311.50.

Let me know if I’m misunderstanding—I just want to make sure we have the right #s reflected in the release. Thank you!

Financial Award Total Remaining Recipient Name
Account Amount Outlayed Amount
Identifier Amount (Estimate)
Number (Estimate)
(FAIN)

EPA_00042794
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 75 of 136

84061101 | $8,000,000 | $1,564,072.97 | $6,435,927.03 INSTITUTE FOR SUSTAINABLE
COMMUNITIES

84061101 | $8,000,000 | $2,006,774.22 | $5,993,225.78 INSTITUTE FOR SUSTAINABLE
COMMUNITIES

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Sent: Monday, February 24, 2025 4:33 PM

To: Loving, Kathryn <Loving.Kathryn@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>
Cc: Mandy, Cora <Mandy.Cora@epa.gov>

Subject: RE: List of Grant Terminations - February 20

Adding Cora. She was looking into this.

Molly Vaseliou
Associate Administrator for Public Affairs
Environmental Protection Agency

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Monday, February 24, 2025 3:52 PM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>; Coogan, Daniel <Coogan.Daniel@epa.gov>
Subject: RE: List of Grant Terminations - February 20

Just want to flag so you both are aware, there’s a duplicate below, FAIN 84061101, so I think the sum total of
potential savings here is only $61M, not $67M. I know press on this already went out, but I’m going to just
report the shorter list to WH unless you are aware of a missing one that’s not on this list!

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>
Sent: Saturday, February 22, 2025 2:17 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: Re: List of Grant Terminations - February 20

Great! It published this morning.

https://nypost.com/2025/02/22/us-news/doge-cuts-67-m-in-epa-grants-for-environmental-justice-groups/

Get Outlook for iOS

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Saturday, February 22, 2025 2:14:22 PM
To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

EPA_00042795
2:25-Cv-02152-RMG Date Filed 04/21/25 =Entry Number 109-5

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: Re: List of Grant Terminations - February 20

Last of the 21 terminations just completed so we’re good for press tomorrow.

Dan
202-355-4943

From: Vaseliou, Molly <Vaseliou.Molly@epa.gov>
Sent: Friday, February 21, 2025 12:00:40 PM

To: Coogan, Daniel <Coogan.Daniel@epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: RE: List of Grant Terminations - February 20

Thanks

From: Coogan, Daniel <Coogan.Daniel@epa.gov>
Sent: Friday, February 21, 2025 11:54 AM

To: Vaseliou, Molly <Vaseliou.Molly@epa.gov>

Ce: Loving, Kathryn <Loving.Kathryn@epa.gov>
Subject: FW: List of Grant Terminations - February 20

Here you go. (I am crossing off the one we are not including).

From: Coogan, Daniel

Sent: Thursday, February 20, 2025 12:25 PM

To: Wise, Melissa <wise.melissa@epa.gov>
Subject: List of Grant Terminations - February 20

Page 76 of 136

Melissa, can we please begin working with the GMOs to terminate the following 22 grants. I received direction from

political leadership that we are to cancel these.

Financial Award Total Remaining Recipient Name
Account Amount Outlayed Amount
Identifier Amount (Estimate)
Number (Estimate)
(FAIN)
13746681 | $8,000,000 $0.00 | $8,000,000.00 | DEEP SOUTH CENTER FOR ENVIRONMENTAL
JUSTICE INC

84061101 | $8,000,000 | $1,564,072.97 | $6,435,927.03 | INSTITUTE FOR SUSTAINABLE COMMUNITIES

84061101 | $8,000,000 | $2,006,774.22 | $5,993,225.78 | INSTITUTE FOR SUSTAINABLE COMMUNITIES

95314201 | $5,000,000 $449,582.62 | $4,550,417.38 | NATIONAL WILDLIFE FEDERATION

95334801 $500,000 $500,000.00 | NUEVA ESPERANZA, INC.

95338201 $500,000 $500,000.00 | APPALACHIAN VOICES

95341301 | $8,000,000 $839,393.02 | $7,160,606.98 | GREEN & HEALTHY HOMES INITIATIVE INC

96701501 | $5,000,000 | $1,069,922.66 | $3,930,077.34 | WICHITA STATE UNIVERSITY

00E03450

$5,000,000 | $1,278,176.09 | $3,721,823.91 | REGENTS OF THE UNIVERSITY OF MINNESOTA

EPA_00042796
2:25-Cv-02152-RMG

Date Filed 04/21/25

Entry Number 109-5 Page 77 of 136

00A01436 $500,000 $500,000.00 | NEW HAVEN ECOLOGY PROJECT INC

00E03451 | $4,000,000 | $1.324.675.77 | $2,675,324.93 | BIG. NEP

00E03682 | $8,000,000 $354,411.16 | $7,645,588.84 | MINNEAPOLIS FOUNDATION

00110501 $4,000,000 $91,832.00 | $3,908,168.00 | MONTANA STATE UNIVERSITY

02F50601 $500,000 $500,000.00 | BLACK UNITED FUND OF TEXAS, INC.

02F50801 $500,000 $500,000.00 | EARTH CARE INTERNATIONAL

02356601 $500,000 $500,000.00 | OREGON COAST VISITORS ASSOCIATION, INC.

02363801 $8,000,000 $991,565.58 | $7,008,434.42 | PHILANTHROPY NORTHWEST

03D03124 $500,000 $67,487.25 $432,512.75 | PARKS ALLIANCE OF LOUISVILLE, INC.

98T65801 $5,100,000 $908,057.59 | $4,191,942.41 | SAN DIEGO STATE UNIVERSITY FOUNDATION

98T88701 $500,000 $72,910.10 $427,089.90 | BAYVIEW HUNTERS POINT COMMUNITY
ADVOCATES, INC.

98T91201 $500,000 $500,000.00 | COUNCIL FOR NATIVE HAWATIAN
ADVANCEMENT

98T91501 $500,000 $11,350.40 $488,649.60 | THE FRIENDSHIP HOUSE ASSOCIATION OF
AMERICAN INDIANS

Dan

EPA_00042797
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 78 of 136

Message

From: Adams, Anthony [Adams.Anthony@epa.gov]

Sent: 3/21/2025 7:03:48 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]; Quarles, Michael
[Quarles.Michael@epa.gov]

cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Carpenter, Wesley [Carpenter.Wesley@epa.gov]; Jackson, Terrence

[Jackson.Terrence@epa.gov]; Standifer, Juanita [Standifer Juanita@epa.gov]; Carter-Jenkins, Snakeba [Carter-
Jenkins.Shakeba@epa.gov]; Jakob, Avivah JJakob.Avivah@epa.gov]

Subject: EO Compliance Review for AO March 21 2025

Attachments: EO Compliance Reveiw_OA_OPEEE_68HERH20D000168HERH20F0116 v4_AJ Signed.pdf; SOW_OEE Program
Support_68HERH20F0116 1.30.25._9.30.25.docx

Hello Kathryn and Erica,

I hope your week has gone well. AO has one (1) action for your review.
The Statement of Work is attached, accompanying the EO Compliance form.

Don't hesitate to contact Michael Quarles or me with any questions. Thanks.

Thanks,

Anthony Adams | Extramural Management Specialist
Office of the Administrator

Office of Administrative & Executive Services

U.S. Environmental Protection Agency

1200 Pennsylvania Ave., N.W.

Washington, DC 20460

Tel. No. (202) 566-1442

adams.anthony(@epa.gov

EPA_00042798
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 79 of 136

Message

From: Corlett, Thomas [Corlett. Thomas@epa.gov]

Sent: 2/24/2025 11:57:30 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]

cc: Jehling, Erica [Jehling.Erica@epa.gov]

Subject: Re: X/DOGE_EPA: Power Forward Communities grants

Thanks for flagging, Kathryn.

From: Loving, Kathryn <Loving.Kathryn@epa.gov>

Sent: Monday, February 24, 2025 6:43 PM

To: EPAExecSec <EPAExecSec@epa.gov>

Cc: Corlett, Thomas <Corlett. Thomas@epa.gov>; Jehling, Erica <Jehling.Erica@epa.gov>
Subject: X/DOGE_EPA: Power Forward Communities grants

Cc Thomas and Erica on this one because this seems generally related to the $20B “gold bars”.

(This is one of the X DMs to the @DOGE_EPA handle, so there’s no public link to share on this.)

David Widawsky, director, EPA’s Greenhouse Gas Reduction Fund (GGRF), knows it’s illegal to award grants
to unqualified organizations (like Stacey Abrams’ Power Forward Communities). Everyone at EPA who has
taken contract management training knows this. The Fund is authorized by statute but staff still must follow
contract/grant administration laws. Why is Widawsky and his staff still on the EPA org chart? Check out David
at this past November’s launch of “Michigan Climate Investment Accelerator” which aims to siphon 6 Billion
from the GGRF to banks/lenders into the spiderweb of grifter organizations.

https://michigan. gov/egle/newsroom/press-releases/2024/1 1/01/mi-climate-investment-accelerator...
“Community lenders in Michigan, including credit unions, CDFIs, and minority depository institutions, will be
able to apply to receive funding and technical assistance from five national nonprofit organizations that were
awarded a total of $6 billion under the GGRF earlier this year. Community lenders that successfully draw down
GGRF resources will make green loans available for Michigan households and businesses for energy efficiency
improvements, renewable energy technologies, electric heat pumps, electric vehicle charging equipment, and
more.” Widawsky: “This collaboration between the State of Michigan, Inclusiv, and other GGRF awardees is
precisely the kind of partnership we need to build out the clean financing ecosystem, address the climate crisis,
and generate new economic opportunities,” said David Widawsky, director, EPA’s Office of the Greenhouse
Gas Reduction Fund. “This partnership recognizes the critical role community lenders will play in climate
friendly economic development, enabling low-income and disadvantaged communities to access the capital they
need to equitably and actively participate in the energy transition. This is just one example of how GGRF
awardees are innovating to bring together public, private, and philanthropic sources of capital to fund projects
all around the country and deliver on the promises of the Inflation Reduction Act and the Greenhouse Gas
Reduction Fund.”

e @FishbowINews

EPA_00042799
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 80 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:02:04 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Philanthropy Northwest 02J/63801

Region 10 completed cancellation of Grant: Philanthropy
Northwest 02J63801.
Description: Northwest Network for Environmental Justice-Initial Award

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXUn

EPA_00042800
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 81 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:12 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Parks Alliance of Louisville, Inc. 03D03124

Region 4 completed cancellation of Grant: Parks Alliance of Louisville,
Inc. 03D03124.

Description: Environmental Justice Collaborative Problem-Solving
Cooperative Agreement Program

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXUq

EPA_00042801
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 82 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:24 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Black united Fund of Texas, Inc. O2F50601

Region 6 completed cancellation of Grant: Black united Fund of Texas,
Inc. O2F50601.

Description: Vulnerable to Vibrant: Solar Workforce Development
Trainings, Illegal Dumpling Abatement, and Environmental Justice
Community

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOQO00UXUs

EPA_00042802
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 83 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:41 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: San Diego State University Foundation 98T65801

Region 9 completed cancellation of Grant: San Diego State University
Foundation 98165801.
Description: Special Purpose Activities Related to Environmental Justice

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXUw

EPA_00042803
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 84 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:33 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Earth Care International 02F50801

Region 6 completed cancellation of Grant: Earth Care

International 02F50801.

Description: Justice in the Air: The Partnership for Community Health
Equity

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO00UXUt

EPA_00042804
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 85 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:49 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Bayview Hunters Point Community Advocates Inc. 98T88701

Region 9 completed cancellation of Grant: Bayview Hunters Point
Community Advocates Inc. 98188701.

Description: Inflation Reduction Act - Environmental Justice Collaborative
Problem-Solving

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO0O0OUXWP

EPA_00042805
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 86 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:06:58 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: Council for Native Hawaiian Advancement 98T91201

Region 9 completed cancellation of Grant: Council for Native Hawaiian
Advancement 98191201.

Description: Inflation Reduction Act - Environmental Justice Collaborative
Problem-Solving

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXWQ

EPA_00042806
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 87 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:07:08 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: The Friendship House Association of American Indians 98T91501

Region 9 completed cancellation of Grant: The Friendship House
Association of American Indians 98191501.

Description: Inflation Reduction Act - Environmental Justice Collaborative
Problem-Solving

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXWR

EPA_00042807
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 88 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/25/2025 1:07:15 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: BIG, NFP O0E03451

Region 5 completed cancellation of Grant: BIG, NFP 00E03451.
Description: EPA Region V Environmental Justice Thriving Communities
Technical Assistance Center (EJ TCTAC) Program Community-Led
Alliance by Blacks in Green & Partners

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UXTB

EPA_00042808
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 89 of 136

Message

From: Nolan, Catherine [Nolan.Catherine@epa.gov]

Sent: 2/25/2025 1:12:26 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: RE: NOTICE: Cancellation of Grant: BIG, NFP 00E03451

Good evening Team:

This notice is an error related to my manually closing grants that were cancelled this weekend. This has not yet been
cancelled because it was “on hold”. Please disregard this email.
My apologies.

Sincerely,
Catherine

Catherine Nolan

Digital Workflow Project Manager

Office of Resources and Business Operations
Office of Mission Support
Nolan.Catherine@epa.gov

From: Catherine Nolan <nolan.catherine@epa.gov>

Sent: Monday, February 24, 2025 8:07 PM

To: Nolan, Catherine <Nolan.Catherine@epa.gov>; Loving, Kathryn <Loving.Kathryn@epa.gov>; Jehling, Erica
<Jehling.Erica@ epa.gov>; Killian, Cole <Killian.Cole@ epa.gov>

Subject: NOTICE: Cancellation of Grant: BIG, NFP 00E03451

EPA_00042809
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 90 of 136

Region 5 completed cancellation of Grant: BIG, NFP 00E03451.
Description: EPA Region V Environmental Justice Thriving Communities
Technical Assistance Center (EJ TCTAC) Program Community-Led
Alliance by Blacks in Green & Partners

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO00UXTB

EPA_00042810
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 91 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/21/2025 8:00:47 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042838
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 92 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042839 - EPA_00042904
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 93 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/25/2025 7:01:30 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-25

Attachments: Contract_Terminations_withAmounts_2025-02-25.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-25, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00042914
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 94 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-02-25.xIsx

EPA_00042915 - EPA_00042922
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 95 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/25/2025 8:59:59 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00042923
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 96 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00042924 - EPA_00042983
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 97 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 2/26/2025 3:09:20 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
Subject: Daily Summary Report of Grant Terminations as of 02/26/25

Attachments: Grant Terminations Report 2025.02.26.pdf; Grant Terminatons List.xlsx
Here’s the daily aggregated report that takes pre-award and post-award cancellations. Let me know if this looks good and
Pll get you added to the daily distribution.

Dan

EPA_00042984
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 98 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/26/2025 7:01:06 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-26

Attachments: Contract_Terminations_withAmounts_2025-02-26.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-26, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00042993
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 99 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-02-26.xIsx

EPA_00042994 - EPA_00043001
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 100 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 2/26/2025 7:29:03 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: INSTITUTE FOR SUSTAINABLE COMMUNITIES ASST_NON_84061101_6800

Office of Environmental Justice and External Civil Rights (OEJECR)
completed cancellation of Grant: INSTITUTE FOR SUSTAINABLE
COMMUNITIES ASST_NON_ 84061101 6800.

Description: THE AGREEMENT PROVIDES FUNDING TO THE
INSTITUTE FOR SUSTAINABLE COMMUNITIES (ISC) TO SERVE AS A
NATIONAL ENVIRONMENTAL JUSTICE THRIVING COMMUNITIES
TECHNICAL ASSISTANCE CENTER (EJ TCTAC). THE ISC TEAM'S
EXPERIENCE AND EXPERTISE OFFER THE NATIONAL EJ TCTAC
NETWORK A ROBUST NATIONAL COORDINATION MECHANISM THAT
WILL BUILD CAPACITY, REDUCE DUPLICATION, AND USE
COMPLEMENTARY SERVICES TO SUPPORT ALL LEVELS OF THE EJ
TCTAC PROGRAM. USING ISC'S NETWORKS, INCLUDING ISC'S
NATIONAL CLIMATE LEADERS OF COLOR

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOOQOOUN2P

EPA_00043002
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 101 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/22/2025 8:01:18 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043003
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 102 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043004 - EPA_00043069
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 103 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/26/2025 9:00:35 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043070
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 104 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043071 - EPA_00043130
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 105 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/26/2025 10:02:01 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043146
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 106 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043147 - EPA_00043206
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 107 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/27/2025 7:01:46 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-27

Attachments: Contract_Terminations_withAmounts_2025-02-27.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-27, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00043207
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 108 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/27/2025 9:00:43 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043216
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 109 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/23/2025 6:02:22 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-23

Attachments: Contract_Terminations_withAmounts_2025-03-23.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-23, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00043217
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 110 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-23.xIsx

EPA_00043218 - EPA_00043237
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 111 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/23/2025 8:00:49 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043238
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 112 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043239 - EPA_00043304
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 113 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 2/28/2025 7:02:42 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-02-28

Attachments: Contract_Terminations_withAmounts_2025-02-28.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-02-28, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00043305
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 114 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-02-28.xIsx

EPA_00043306 - EPA_00043313
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 115 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 2/28/2025 9:00:49 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043314
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 116 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043315 - EPA_00043386
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 117 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/2/2025 9:01:27 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043399
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 118 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043400 - EPA_00043471
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 119 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/3/2025 7:01:46 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-03

Attachments: Contract_Terminations_withAmounts_2025-03-03.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-03, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00043479
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 120 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-03.xIsx

EPA_00043480 - EPA_00043487
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 121 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/3/2025 9:00:38 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00043488
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 122 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00043489 - EPA_00043560
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 123 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/3/2025 10:26:33 PM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: PHILANTHROPY NORTHWEST 02J63801

Region 10 completed cancellation of Grant: PHILANTHROPY
NORTHWEST 02J63801.

Description: DESCRIPTION: THIS AGREEMENT PROVIDES FUNDING
UNDER THE INFLATION REDUCTION ACT (IRA) TO PHILANTHROPY
NORTHWEST (PNW) AS A REGIONAL GRANTMAKER. THE
RECIPIENT, ALONG WITH PARTNERS, WILL USE THE INITIAL AWARD
TO ESTABLISH AND SUPPORT THE ACCESSIBILITY AND EQUITABLE
DISTRIBUTION OF ENVIRONMENTAL JUSTICE THRIVING
COMMUNITIES RESOURCES TO HISTORICALLY UNDERSERVED
COMMUNITIES TO IMPROVE ENVIRONMENTAL AND COMMUNITY
HEALTH AND WELLBEING THROUGH A PASS-THROUGH SUBGRANT
PROGRAM. WOVEN THROUGHOUT THE STRUCTU

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOO000UMeD

EPA_00043568
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 124 of 136

Message

From: Catherine Nolan [nolan.catherine@epa.gov]

Sent: 3/4/2025 12:23:57 AM

To: Nolan, Catherine [Nolan.Catherine@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica
(Jehling.Erica@epa.gov]; Killian, Cole [Killian.Cole@epa.gov]

Subject: NOTICE: Cancellation of Grant: VAN CORTLANDT PARK ALLIANCE INC. 96235423

Region 2 completed cancellation of Grant: VAN CORTLANDT PARK
ALLIANCE INC. 96235423.

Description: DESCRIPTION: THIS PROJECT PROVIDES FUNDING TO
VAN CORTLANDT PARK ALLIANCE TO IMPLEMENT ITS PROJECT,
WHICH WILL DESIGN, DEMONSTRATE, AND DISSEMINATE
ENVIRONMENTAL EDUCATION PRACTICES, METHODS, AND
TECHNIQUES, THAT WILL SERVE TO INCREASE ENVIRONMENTAL
LITERACY AND ENCOURAGE BEHAVIOR THAT WILL BENEFIT THE
ENVIRONMENT IN THE BRONX, NEW YORK. THE GRANTEE WILL DO
THIS BY EDUCATING UNDERSERVED STUDENTS' ON HOW AIR
QUALITY, WATER QUALITY AND CLIMATE CHANGE IS AFFECTING
THEIR COMMUNITY. VAN CORTLANDT PARK

For more details about this Grant action, please click the link below:
https://epabap.my.salesforce.com/a0SSJOOOO00UMeL

EPA_00043569
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 125 of 136

Message

From: Coogan, Daniel [Coogan.Daniel@epa.gov]

Sent: 3/4/2025 1:26:12 AM

To: Jehling, Erica [Jehling.Erica@epa.gov]

cc: Loving, Kathryn [Loving.Kathryn@epa.gov]

Subject: Daily Summary Report of Grant Terminations as of 03/03/2025

Attachments: Grant Terminatons List.xlsx; Grant Terminations Report 2025.03.03.pdf

W/ FAIN and CFDA details. Up to $83M-+.

Dan

EPA_00044466
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 126 of 136

Message

From: OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov [OMS-ARM-OAS-OfficeofAcquisitionSolutions@epa.gov]

Sent: 3/24/2025 6:01:58 PM

To: Coogan, Daniel [Coogan.Daniel@epa.gov]; Hublar, Jennifer [Hublar Jennifer@epa.gov]; Loving, Kathryn
{Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Legare, Pamela [Legare.Pamela@epa.gov]; Rogers, JoanB [Rogers.JoanB@epa.gov]; Burnett-Bakr, Robbin [Burnett-
Bakr.Robbin@epa.gov]

Subject: Contract Terminations Daily Report with amounts 2025-03-24

Attachments: Contract_Terminations_withAmounts_2025-03-24.xlsx

Attached is the Daily Contract Terminations Report with award ceiling 2025-03-24, Total obligated amount,
and unobligated amount (Award Ceiling - Total Obligated Amount).

EPA_00044467
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 127 of 136

This document is produced in native format.

Original file name:

Contract_Terminations_withAmounts_2025-03-24.xIsx

EPA_00044468 - EPA_00044487
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 128 of 136

Message

From: oms-arm-ogd-grant_reports@epa.gov [oms-arm-ogd-grant_reports@epa.gov]
Sent: 3/24/2025 8:00:28 PM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Wise, Melissa [wise.melissa@epa.gov]
Subject: Pending Grant Actions

Attachments: Pending Grants Actions — All Regions and HQ.xlsx

Attached is a Report of Pending Grants Actions. This report is daily generated. Please contact Melissa Wise for
questions about the data or if the report needs to change. Thanks!

EPA_00044488
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 129 of 136

This document is produced in native format.

Original file name:

Pending Grants Actions — All Regions and HQ.xisx

EPA_00044489 - EPA_00044554
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 130 of 136

Message

From: Dolan, Sheila [dolan.sheila@epa.gov]

Sent: 3/24/2025 10:09:32 PM

To: Jehling, Erica [Jehling.Erica@epa.gov]; Loving, Kathryn [Loving.Kathryn@epa.gov]
cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Sanders, Amy [Sanders.Amy@epa.gov]
Subject: DOGE Review - Region 5 — March 24th

Attachments: 07E00752-0.pdf

Good afternoon,
Please see the attached RS compliance form for 3/24. Let me know if you have any questions.
Thanks!

Best Regards,

Sheila Dolow

Branch Manager

R5 Acquisition & Assistance
Office: 312-886-6675

Cell: 202-845-5981

EPA_00044555
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 131 of 136

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:|O7EQ00752-0

Recipient/ Vendor name:|Forest County Potowatomi Community

Funding amount S: 502,500

Work Description:

Forest County Potowatomi Community will use these funds to (1) protect the quality of the
Tribe's water, land, and air resources by building and enhancing the basic infrastructure of
an environmental program, (2) ensure healthy ambient air quality for the Reservation and
surrounding air-shed, and (3) maintain adequate measures for the prevention and control
of surface and groundwater pollution from both point and non-point sources.

Government-wide Acquisition (if yes, check box):

EPA_00044556
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 132 of 136

. Digitally signed by Tyler,
Tyler, Jennifer Jennifer (Blonn}

Date: 2025.03.24
(Blonn) 11:11:25 -05'00"

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team

EPA_00044557
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 133 of 136

This document is produced in native format.

Original file name:

2025-2026 FCPC_PPG_Work Plan - Final.xisx

EPA_00044558 - EPA_00044604
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 134 of 136

Message

From: Watkins, Tim [Watkins.Tim@epa.gov]

Sent: 3/25/2025 1:23:28 AM

To: Loving, Kathryn [Loving.Kathryn@epa.gov]; Jehling, Erica [Jehling.Erica@epa.gov]

cc: Coogan, Daniel [Coogan.Daniel@epa.gov]; Brinkmiller, Michael [Brinkmiller.Michael@epa.gov]; Hart, Laconda
[Hart.Laconda@epa.gov]

Subject: ORD Compliance Review Forms

Attachments: 20250313 _GeminiAnalyizer_PR-ORD-25-00107_RSCD-SHEM_Compliance Review Form_overSOk. pdf;
20250314 _RTPSHEM Support OY1 68HERC23F0492ComplianceReviewOverS0K.pdf; 20250314_RTPSHEM Support
OY2 68HERC23F0492ComplianceReviewOverS0K.pdf; 20250320 Follow-On RTP On-Site Contract_TBD_ORD-ORM-
EMD_Compliance Review Form_over 50k.pdf; EOCR CPHEA-PHITD-Schmitt-PR-ORD-25-00863-IRB.pdf; EOCR Form
ORD_CPHEA_ICSD_Ridley_68HERC24D0001_PRORD2500188.pdf; EOCR Form ORD-CPHEA-PESD_Knight_Planning PR
- landscapint.pdf; EOCR ORD_CPHEA_68HERC25R0099-PR-ORD-24-02956-Lee.pdf; EOCR_ORD-CPHEA-HEEAD-Jones-
Mar 13 2025 Reprints (003).pdf; EOCR-ORD-CPHEA-CPAD-Shams-68HERD22F0091-DistillerSR Renewal_.pdf;
ORD_CEMM_68HERH25C0004_03202025.pdf; ORD_CESER_68HERC20D0018_03202025_0042.pdf;
ORD_OSAPE_68HERC24C0002_03202025.pdf; ORD_OSIM_68HERD24A0001_68HERD24F0087_03202025.pdf;
ORD_OSIM_68HERD24A002_68HERD24F0099_03202025.pdf;
ORD_OSIM_68HERD24A0003_68HERD24F0100_03212025.pdf; ORD-CCTE-CCED-68HERH24D0007 (Evotec) OY1
Exercise_ss.pdf; ORD-CCTE-IO-68HERC20D0018_Scientific Equipment Calibration MetLab_s.pdf

Hi Kathryn and Erica,

The purpose of this message is to forward the attached Compliance Review Forms from the Office of Research and
Development (ORD) for actions greater than $50,000. The actions described in the attached forms have been reviewed
and are in compliance with recently issued EOs and the Administrator’s priorities.

I realize that there are numerous forms (18) on this submission and that the process for reviewing these forms will be
changing effective tomorrow, so if you prefer that we use the new process please let me know.

If you have questions or require additional information, please contact me, Mike Brinkmiller
(Brinkmiller.michael@epa.gov) or Laconda Hart (Hart.Laconda@epa.gov).

Thank you,

Tim Watkins

Senior Resource Official

Office of Research and Development

EPA_00044605
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 135 of 136

Executive Order Compliance Review

The following review verification document must be included with any assistance agreement,
contract or interagency (IA) funding action or amendment to a workplan or statement of work.
The document demonstrates that the signatory understands that the action and associated
workplan or performance work statement complies with Executive Order requirements
(detailed here: Presidential Actions — The White House) at the time of signature.

For actions requiring this document, signature must be by the Office Director (OD) in
Headquarters or the Division Director (DD) in the regions. An OD/DD may assign a designee.
Contracting Officers/ Specialists, [A Specialists, and Grants Specialists must retain the signed
document in the contract, IA or grant file.

Funding Action Review Confirmation

This confirms that the workplan, budget or performance work statement does not conflict with
the Executive Orders and aligns with the Administrator’s “Powering the Great American
Comeback” initiative. Funding organizations may batch actions and attach a list of covered
actions, which must include the following details, at a minimum.

Contract/ Grant/ IA #:| 6BBHERD24A0003 / 6BBHERD24F 0100

Recipient/ Vendor name: Booz Allen Hamilton

Funding amount S: 200,000

Work Description:

Assist with the ongoing planning, development, operations, maintenance, and end user support for the
Scientific and Technical Information Clearance System (STICS) and its components, including Nuxeo.

STICS, ORD's internal clearance system, automated the previously paper-based review and approval
process for clearing ORD scientific and technical products including peer-reviewed journal articles,
reports, posters, presentations, assessments, etc., The application promotes transparency by enabling
researchers to see where their products are in the clearance process and access their submissions at
any time as well as run detailed reports. Clearance for publication and release to the public and internal
EPA partners is one of the final steps in the research process.

Government-wide Acquisition (if yes, check box):

EPA_00044606
2:25-Cv-02152-RMG Date Filed 04/21/25 = Entry Number 109-5 Page 136 of 136

Digitally signed by
AARON AARON IBARRA

Date: 2025.03.24
IBARRA 07:25:21 -04'00"

Program Office Director (or designee)/ Regional Division Director (or designee)

DOGE Team

EPA_00044607
